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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK

   ---------------------------------------------------------------
   GILEAD SCIENCES, INC., et al.,                                  :
                                                                   :
                                         Plaintiffs,               : Case No. 21-cv-4106 (AMD) (RER)
                                                                   :
   v.                                                              : FILED UNDER SEAL
                                                                   : PURSUANT TO 15 U.S.C. § 1116(D)
   SAFE CHAIN SOLUTIONS, LLC, et al.,                              :
                                                                   :
                                         Defendants.               :
   --------------------------------------------------------------
      STIPULATION AND [PROPOSED] ORDER MODIFYING THE ASSET FREEZE AS
                                 TO THE TOTAL REMEDY DEFENDANTS

           WHEREAS, on July 30, 2022, Plaintiffs Gilead Sciences, Inc., Gilead Sciences Ireland

   UC, and Gilead Sciences, LLC (together, “Gilead” or “Plaintiffs”) filed their proposed Fourth

   Amended Complaint and sought a temporary restraining order, asset freeze order, and ex parte

   seizure against, inter alia, Defendants Everything Pharmacy Related II, Inc. d/b/a Total Remedy

   and Prescription Center and Mohammad Etminan (collectively the “Total Remedy Defendants”);

           WHEREAS, on August 11, 2022, the Court entered the Fourth Amended Complaint, the

   Temporary Restraining Order and Order to Show Cause for a Preliminary Injunction, an Asset

   Freeze Order, and Seizure Order (Dkt. Nos. 626-629);

           WHEREAS, on August 23, 2022, the Court entered an Order extending and modifying the

   Asset Freeze Order, Seizure Order, and Temporary Restraining Order and Order to Show Cause

   (Dkt. No. 642);

           WHEREAS Plaintiffs and the Total Remedy Defendants have agreed to unfreeze four

   accounts held by RVC Valley, Inc. and Holy Cross Hospice Inc. while leaving the remainder of

   the freeze in place;




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               NOW THEREFORE, UPON THE STIPULATION AND AGREEMENT by and between

       the undersigned counsel for Plaintiffs and the Total Remedy Defendants, it is hereby ORDERED

       that:

               1.     The Court’s August 11, 2022 Asset Freeze Order is hereby MODIFIED as

                      follows:


                      a. Any bank, brokerage house, or financial institution holding frozen assets

                          under the Asset Freeze Order shall continue to hold such assets except as set

                          forth in this Order.


                      b. Counsel for Plaintiffs or the Total Remedy Defendants may immediately serve

                          this Order upon Wells Fargo.


                      c. Upon service of this Order upon Wells Fargo, Wells Fargo shall immediately

                          unfreeze the frozen accounts ending with 7989 and 5062 (account holder or

                          signatory: RVC Valley, Inc.) and the frozen accounts ending with 0015 and

                          9265 (account holder or signatory: Holy Cross Hospice Inc.).


                      d. For the avoidance of doubt, Wells Fargo shall not unfreeze any other

                          accounts.

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                      e. Except to the extent inconsistent with this Order, the provisions of the Court’s

                          Asset Freeze Order shall remain in effect.


               2.     The Total Remedy Defendants shall not directly or indirectly receive any funds or

                      assets of any kind from RVC Valley, Inc. and Holy Cross Hospice Inc. pending

                      further order of the Court.


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               3.     The Total Remedy Defendants each agree to accept service of the following

                      papers through counsel via e-mail:


                      a. Fourth Amended Complaint (and supporting exhibits)


                      b. Ex Parte Motion for Relief


                      c. Memorandum of Law in Support of Ex Parte Motion (and supporting exhibits)


                      d. Order Granting Leave to File Fourth Amended Complaint (Dkt. No. 626)


                      e. Order Granting Asset Freeze Against Newly Named Defendants (Dkt. No.

                          627)


                      f. Order Granting Temporary Restraining Order and Order to Show Cause for a

                          Preliminary Injunction (Dkt. No. 628)


                      g. Order Granting Seizure Order (Dkt. No. 629)


                      h. Summons and Summons Rider, dated August 11, 2022


                      i. Declaration of Geoffrey Potter (and supporting exhibits)


                      j. Declaration of Susmitha Sunkara (and supporting exhibits)
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                      k. Declaration of Hannah Coleman (and supporting exhibits)


                      l. Declaration of Harpreet Dhanota


                      m. Declaration of Patrick McAllister




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                                                                     SO ORDERED

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       Issued:




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                                        CERTIFICATE OF SERVICE

               I hereby certify, that on August 26, 2022, I served the foregoing upon counsel of record

       via ECF, which will be made available to counsel upon the unsealing of the foregoing.



                                                             /s/ Andrew Haddad




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